           Case 1:18-cv-11099-ALC Document 54 Filed 10/19/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                            October 19, 2020
------------------------------------------------------------x
   BLOCKCHAIN MINING SUPPLY AND                               :
   SERVICES LTD.,                                             :
                                                              :      18-cv-11099 (ALC)
                                                Plaintiff,    :
                     -against-                                :       ORDER
                                                              :
   SUPER CRYPTO MINING, INC. and DPW                          :
   HOLDINGS INC.,                                             :
                                                              :
                           Defendants.                        :
------------------------------------------------------------x

ANDREW L. CARTER, JR., United States District Judge:

        The Court is in receipt of parties’ status letters. (ECF Nos. 50, 52, 53). Accordingly, the

Court shall hold a telephone conference on October 28, 2020 at 10:00 a.m. Plaintiff should initiate

the call to the other parties, and once all relevant parties are on the line, should contact the Court at

1-888-363-4749 on the date and time specified above and once prompted, should dial access code

3768660.




SO ORDERED.

Dated: October 19, 2020                             ___________________________________

        New York, New York                                        ANDREW L. CARTER, JR.
                                                                  United States District Judge
